               Case 23-10831-MFW                   Doc 985-2          Filed 02/14/24           Page 1 of 1




                                                         Exhibit A

    Customary and Comparable Compensation Disclosures for Baker & Hostetler LLP
       The blended hourly rate for B&H timekeepers (including both professionals and
paraprofessionals) who have billed time to the Debtors during the Application Period was
approximately $583.39 per hour (the “Debtors Blended Rate”).1
        The non-bankruptcy blended hourly rate for B&H’s timekeepers during the 12-month
period from January 1, 2023 to and including December 31, 2023 (the “Comparable Period”)2 was,
in the aggregate, approximately $602.66 per hour (the “Non-Bankruptcy Blended Rate”).3
         A detailed comparison of these rates is as follows:
                              Category of               Debtors   Non-Bankruptcy
                              Timekeeper             Blended Rate  Blended Rate
                            Partner                          $672.38                    $848.28
                            Associate4                       $420.00                    $493.56
                            Paraprofessional                 $241.20                    $372.60
                            Aggregate                        $583.39                    $602.66




1   B&H calculated the blended rate for timekeepers who billed to the Debtors by dividing the total dollar amount billed by such
    timekeepers during the Application Period by the total number of hours billed by such timekeepers during the Application
    Period.
2   On an annual basis, B&H reexamines and adjusts for increases in seniority and changes in experience, expertise, and status in
    January of each year the rates for lawyers and paraprofessionals. The calculation of the Non-Bankruptcy Blended Rate
    includes the rates B&H billed in 2023.
3   B&H calculated the Non-Bankruptcy Blended Rate by dividing the total dollar amount billed by non-bankruptcy timekeepers
    in the applicable offices to all matters during the Comparable Period by the total number of hours billed by non-bankruptcy
    timekeepers in the applicable offices to all matters during the Comparable Period. For purposes of the foregoing calculation,
    B&H included Cleveland, New York, Los Angeles, Houston and DC, as the applicable offices with timekeepers working on
    matters for the Debtors.
4   This amount includes fees for interns and law clerks.
